













NUMBER 13-07-00685-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

DAN UZZELL, TRUSTEE, 	Appellant,


v.



JASPER T. ROE, IRREVOCABLE TRUST,	Appellee. 

	____________________________________________________________


On appeal from the 404th District Court 


of Cameron County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Garza, and Benavides


Memorandum Opinion Per Curiam	

	The appellant's brief in the above cause was due on March 12, 2008.  On June 3,
2008, the Clerk of the Court notified appellant that the brief had not been timely filed and
that the appeal was subject to dismissal for want of prosecution under Texas Rule of
Appellate Procedure 38.8(a)(1), unless within ten days from the date of receipt of this
letter, appellant reasonably explained the failure and the appellee was not significantly
injured by the appellant's failure to timely file a brief.  To date, appellant has neither filed
his brief in this matter nor otherwise responded to the Court's notices.

	Appellant has failed to either reasonably explain his failure to file a brief, file a
motion for extension of time to file his brief, or file his brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 

							PER CURIAM


Memorandum Opinion delivered 

and filed this the 21st day of August, 2008. 





	


